 Case 1:18-cr-00457-AJT
      Case 1:17-cr-00232-EGS
                         Document
                              Document
                                  372 Filed
                                       121-109/24/19
                                               Filed 09/30/19
                                                      Page 1 ofPage
                                                                39 PageID#
                                                                    1 of 39 5355




                        UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


UNITED STATES OF AMERICA


               V.



BIJAN RAFIEKIAN, et al,                               Case Number 1:18-cr-457-AJT-l


               Defendants.



                                  MEMORANDUM OPINION


       On July 23, 2019, after a six-day jury trial. Defendant Bijan Rafiekian was convicted on

one count ofconspiracy in violation of 18 U.S.C. § 371; and one count of acting in the United

States as an unregistered agent of a foreign government, namely the government of Turkey,in

violation of 18 U.S.C. § 951. The Defendant moved for a judgment of acquittal at the close of the

Government's case in chief, renewed that motion at the close of all the evidence and following

the verdict, filed a Motion for Judgment of Acquittal Under Federal Rule of Criminal Procedure

29[Doc. No. 342](the "Motions for Acquittal") and Motion for a New Trial [Doc. No. 361](the

"Motion for New Trial")(collectively, the "Motions"). The Court held a hearing on the Motions

on September 12,2019, at the conclusion of which it took them under advisement. For the

reasons stated below,the evidence was insufficient as a matter oflaw for the jury to convict

Rafiekian on either count. Because the verdict was against the heavy weight ofthe evidence and

because of other issues pertaining to the conduct of that trial, as discussed below, a new trial is

also warranted in the interests ofjustice should the Court'sjudgment of acquittal be later vacated

or reversed. Accordingly, the Motions for Acquittal are GRANTED;and the Motion for New

Trial is conditionally GRANTED.



                                                  1
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 2 ofPage
                                                               39 PageID#
                                                                   2 of 39 5356
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 3 ofPage
                                                               39 PageID#
                                                                   3 of 39 5357
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 4 ofPage
                                                               39 PageID#
                                                                   4 of 39 5358
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 5 ofPage
                                                               39 PageID#
                                                                   5 of 39 5359
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 6 ofPage
                                                               39 PageID#
                                                                   6 of 39 5360
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 7 ofPage
                                                               39 PageID#
                                                                   7 of 39 5361
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 8 ofPage
                                                               39 PageID#
                                                                   8 of 39 5362
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 9 ofPage
                                                               39 PageID#
                                                                   9 of 39 5363
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 10 Page
                                                             of 39 PageID#
                                                                   10 of 39 5364
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 11 Page
                                                             of 39 PageID#
                                                                   11 of 39 5365
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 12 Page
                                                             of 39 PageID#
                                                                   12 of 39 5366
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 13 Page
                                                             of 39 PageID#
                                                                   13 of 39 5367
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 14 Page
                                                             of 39 PageID#
                                                                   14 of 39 5368
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 15 Page
                                                             of 39 PageID#
                                                                   15 of 39 5369
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 16 Page
                                                             of 39 PageID#
                                                                   16 of 39 5370
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 17 Page
                                                             of 39 PageID#
                                                                   17 of 39 5371
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 18 Page
                                                             of 39 PageID#
                                                                   18 of 39 5372



Project Confidence. Id., 232:5-6 [Doc. No. 320](Kelner). As to Flynn's op-ed, Rafiekian stated

that the op-ed was not part of Project Confidence and that it was Flynn's idea. Id. 235:5-12 [Doc.

No. 320](Kelner).

                                     11. LEGAL STANDARD


       The U.S. Constitution "protects the accused against conviction except upon proof beyond

a reasonable doubt of every fact necessary to constitute the crime with which he is charged." In

re Winship, 397 U.S. 358, 364(1970). Federal Rule of Criminal Procedure 29 provides an

important safeguard for criminal defendants by requiring that "the court on the defendant's

motion must enter a judgment ofacquittal of any offense for which the evidence is insufficient to

sustain a conviction." It is the sole province ofthe jury to "resolve conflicts in the testimony, to

weigh the evidence, and to draw reasonable inferences from basic facts to ultimate facts," id.,

and "where the evidence supports differing reasonable interpretations, the jury will decide which

interpretation to accept," United States v. Moye,454 F.3d 390,394(4th Cir. 2006)(en banc). For

that purpose, circumstantial evidence "is treated no differently than direct evidence, and may be

sufficient to support a guilty verdict even though it does not exclude every reasonable hypothesis

consistent with innocence." United States v. Jackson, 863 F.2d 1168, 1173(4th Cir. 1989). The

dispositive question on a Rule 29 motion is whether, after viewing the evidence in the light most

favorable to the prosecution and assuming that the jury resolved all contradictions in the

testimony in favor ofthe Government,''any rational trier of fact could have found the essential

elements ofthe crime beyond a reasonable dowhX.'" Jackson v. Virginia, 443 U.S. 307, 319(1979)

(emphasis in original). When,as here, a motion for judgment of acquittal is made at the close of




                                                 18
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 19 Page
                                                             of 39 PageID#
                                                                   19 of 39 5373
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 20 Page
                                                             of 39 PageID#
                                                                   20 of 39 5374
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 21 Page
                                                             of 39 PageID#
                                                                   21 of 39 5375
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 22 Page
                                                             of 39 PageID#
                                                                   22 of 39 5376
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 23 Page
                                                             of 39 PageID#
                                                                   23 of 39 5377
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 24 Page
                                                             of 39 PageID#
                                                                   24 of 39 5378
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 25 Page
                                                             of 39 PageID#
                                                                   25 of 39 5379
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 26 Page
                                                             of 39 PageID#
                                                                   26 of 39 5380
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 27 Page
                                                             of 39 PageID#
                                                                   27 of 39 5381
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 28 Page
                                                             of 39 PageID#
                                                                   28 of 39 5382
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 29 Page
                                                             of 39 PageID#
                                                                   29 of 39 5383
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 30 Page
                                                             of 39 PageID#
                                                                   30 of 39 5384
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 31 Page
                                                             of 39 PageID#
                                                                   31 of 39 5385
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 32 Page
                                                             of 39 PageID#
                                                                   32 of 39 5386
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 33 Page
                                                             of 39 PageID#
                                                                   33 of 39 5387
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 34 Page
                                                             of 39 PageID#
                                                                   34 of 39 5388
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 35 Page
                                                             of 39 PageID#
                                                                   35 of 39 5389
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 36 Page
                                                             of 39 PageID#
                                                                   36 of 39 5390
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 37 Page
                                                             of 39 PageID#
                                                                   37 of 39 5391
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 38 Page
                                                             of 39 PageID#
                                                                   38 of 39 5392
Case 1:18-cr-00457-AJT
     Case 1:17-cr-00232-EGS
                        Document
                             Document
                                 372 Filed
                                      121-109/24/19
                                              Filed 09/30/19
                                                     Page 39 Page
                                                             of 39 PageID#
                                                                   39 of 39 5393
